Case: 2:21-cv-05587-EAS-CMV Doc #: 16 Filed: 02/11/22 Page: 1 of 1 PAGEID #: 123




                                 CIVIL MINUTES

2:21-cv-5587
State of Ohio v. Michael Jason Meade



                               Evidentiary Hearing
             held on Friday, February 11, 2022 at 9:00 a.m.
                  before Judge Edmund A. Sargus, Jr.


For State of Ohio: Gary Shroyer, Howard Merkle and Elizabeth Ellis

For Michael Jason Meade: Steven Nolder, Kaitlyn Stephens and Mark
Collins

Court Reporter: Crystal Hatchett

Courtroom Deputy: Christin Werner
     Officer Ryan Rosser called by Steven Nolder.
     Officer Rosser testified to defense exhibit A.
     Cross examination of Officer Rosser by Howard Merkle.
     Redirect examination of Officer Rosser by Steven Nolder.
     Recross examination of Officer Rosser by Howard Merkle.

     Deputy Charles Sanso called by Howard Merkle.
     Deputy Sanso testified to plaintiff exhibit 1, 2, 4, 5 and exhibit A-1
     Cross examination of Deputy Sanso by Steven Nolder.
     Deputy Sanso testified to exhibit 1, defense exhibit B, exhibit 4, exhibit 2 and defense
     exhibit C.
     Redirect examination of Deputy Sanso by Howard Merkle.

     Oral argument heard.

     Opinion and Order to follow.
